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                                         UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF OHIO
                                          WESTERN DIVISION at CINCINNATI

      In re     Linda Dews                                 )             Case No.    25-10566
                                                           )
                                                           )            Chapter 13
                                                           )            Judge        Beth A. Buchanan
                             Debtor(s)
                                                 CHAPTER 13 PLAN
      1. NOTICES
      The Debtor has filed a case under chapter 13 of the Bankruptcy Code. A notice of the case (Official Form
      309I) will be sent separately.

      This is the Mandatory Form Chapter 13 Plan adopted in this District. Local Bankruptcy Rule ("LBR") 3015-1.
      "Debtor" means either a single debtor or joint debtors as applicable. "Trustee" means Chapter 13 Trustee. Section
      "§" numbers refer to sections of Title 11 of the United States Bankruptcy Code. "Rule" refers to the Federal Rules
      of Bankruptcy Procedure.

      Unless otherwise checked below, the Debtor is eligible for a discharge under § 1328(f).
                  Debtor                                       is not eligible for a discharge.
                  Joint Debtor                                      is not eligible for a discharge.

          Initial Plan
          Amended Plan The filing of this Amended Plan shall supersede any previously filed Plan or Amended Plan
      and must be served on the Trustee, the United States trustee, and all adversely affected parties. If the Amended Plan
      adversely affects any party, the Amended Plan shall be accompanied by the twenty-one (21) day notice. Rule
      2002(a)(9). Any changes (additions or deletions) from the previously filed Plan or Amended Plan must be clearly
      highlighted in a conspicuous manner in the Amended Plan filed with the Court. LBR 3015-2(a)(1).
      If an item is not checked, the provision will be ineffective if set out later in the Plan.

          This Plan contains nonstandard provisions in Paragraph 13.
          The Debtor proposes to limit the amount of a secured claim based on the value of the collateral securing
          the claim. See Paragraph(s) 5.1.2(A) and/or 5.1.4(A).
          The Debtor proposes to eliminate or avoid a security interest or lien. See Paragraph(s) 5.4.1, 5.4.2, and/
          or 5.4.3.

      NOTICES TO CREDITORS: You should read this Plan carefully, including Paragraph 13 (Nonstandard
      Provisions), and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
      attorney, you may wish to consult one. Except as otherwise specifically provided, upon confirmation, you
      will be bound by the terms of this Plan. Your claim may be reduced, modified, or eliminated. The Court may
      confirm this Plan if no timely objection to confirmation is filed.

      2. PLAN PAYMENT AND LENGTH
      2.1 Plan Payment. The Debtor shall pay to the Trustee the amount of $ 450.00 per month. [Enter step
      payments below, if any.] The Debtor shall commence making payments not later than thirty (30) days after
      the date of filing of the Plan or the order for relief, whichever is earlier. § 1326(a)(1).

      2.1.1 Step Payments, if any:
      2.2 Unsecured Percentage
        Percentage Plan. Subject to Paragraph 2.3, this Plan will not complete earlier than the payment of
        1   % on each allowed nonpriority unsecured claim.

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        Pot Plan. Subject to Paragraph 2.3, the total amount to be paid by the Debtor to the Trustee is
      $                 . Assuming all claims are filed as scheduled or estimated by the Debtor, payment on each
      allowed nonpriority unsecured claim is estimated to be no less than           %.

      2.3 Means Test Determination
         Below Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, the projected
               length of the plan must be a minimum of thirty-six (36) months but not to exceed sixty (60)
               months.
         Above Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, the projected
               length of the Plan must be sixty (60) months.
      Upon notice filed with the Court, the Trustee is authorized to administratively increase the proposed percentage
      payable to nonpriority unsecured creditors to ensure the Plan complies with § 1325(b)(1)(B).

      3. PRE-CONFIRMATION LEASE PAYMENTS AND/OR ADEQUATE PROTECTION PAYMENTS
      Pre-confirmation personal property lease payments governed by § 1326(a)(1)(B) shall be made as part of the total
      Plan payment to the Trustee. LBR 3070-1(a). Pre-confirmation adequate protection payments governed by §
      1326(a)(1)(C) shall be made as part of the total Plan payment to the Trustee. LBR 3070-1(b). The lessor/secured
      creditor must file a proof of claim to receive payment. LBR 3070-1(a) and (b).


             Name of Lessor/Secured Creditor Property Description                        Monthly Payment Amount
             Lendmark Financial Services           2014 Chevrolet Cruz                   $264.00

      4. SECURED CLAIMS: TREATMENT, TIMING AND SERVICE REQUIREMENTS

      4.1 Non-Governmental Unit Secured Claims. The Debtor may propose to limit the amount of a secured claim based
      on the value of the collateral securing the claim by the procedure proposed in Paragraphs 5.1.2(A) and 5.1.4(A).
      Further, the Debtor may propose to eliminate or avoid a security interest or lien by the procedure proposed in
      Paragraphs 5.4.1, 5.4.2, and 5.4.3. If the Debtor proposes to seek any of the above-stated relief by way of motion or
      claim objection, the motion or claim objection must be filed on or before the § 341 meeting of creditors or the
      confirmation hearing may be delayed. If a judicial lien or nonpossessory, nonpurchase-money security interest is
      discovered after confirmation of the Plan, a motion to avoid the judicial lien or security interest may be promptly
      filed after it is discovered.

      4.2 Governmental Unit Secured Claims. A request to determine the amount of the secured claim of a governmental
      unit or to modify and eliminate the secured claim of a governmental unit may be made only by motion or claim
      objection. Rule 3012(c). Any motion or claim objection that includes a request to determine the amount of the
      secured claim of a governmental unit (including any such motion or claim objection that also includes a request to
      determine the amount of the secured claim of a non-governmental entity) may be filed only after the governmental
      unit files a proof of claim or after the time for filing one has expired. Rule 3012, advisory committee note (2017
      Amendments).

      4.3 Service Requirements. If the Debtor proposes to seek relief under Paragraphs 5.1.2(A), 5.1.4(A), 5.4.1, 5.4.2, or
      5.4.3, the motion, Plan or claim objection, as applicable, must be served in the manner provided by Rule 7004 for
      service of a summons and complaint. Rule 3007(a)(2), Rule 3012(b), and Rule 4003(d).

      4.4 Retention of Lien. The holder of any claim listed in Paragraphs 5.1.2(A) or (B), 5.1.3, 5.1.4(A) or (B), and 5.4.1
      will retain its lien on the property interest of the Debtor or the Debtor's estate until the earlier of -- (a) payment of
      the underlying debt determined under nonbankruptcy law, (b) discharge of the underlying debt under § 1328, or (c)
      completion of the Plan -- at which time the lien will terminate and be released by the creditor.




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      5. PAYMENTS TO CREDITORS
                              SUMMARY OF PAYMENTS BY CLASS

               Class                      Definition                          Payment/Distribution by Trustee

               Class 1                    Claims with Designated Specific Paid first in the monthly payment
                                          Monthly Payments                amount designated in the Plan
               Class 2                    Secured Claims with No        Paid second and pro rata with other
                                          Designated Specific Monthly   Class 2 claims
                                          Payments and Domestic Support
                                          Obligations (Arrearages)
               Class 3                    Priority Claims               Paid third and pro rata with other
                                                                        Class 3 claims
               Class 4                    Nonpriority Unsecured Claims        Paid fourth and pro rata with other
                                                                              Class 4 claims
               Class 5                    Treatment of Claims with a Non- See Paragraph 5.5
                                          Filing Codebtor, Guarantor, or
                                          Third Party
               Class 6                    Claims Paid by the Debtor       Not applicable


      Except as provided in Paragraph 3, the Trustee shall begin making distributions upon confirmation. To the extent
      funds are available, the maximum number of Classes may receive distributions concurrently. Notwithstanding the
      above, the Trustee is authorized within the Trustee’s discretion to calculate the amount and timing of distributions
      as is administratively efficient. If the Trustee receives written communication from a creditor that a claim has been
      paid in full, released, waived, or otherwise deemed satisfied, the Trustee may file a Notice of Deemed Satisfaction
      of Claim with the Court and distribute any funds returned to the Trustee relating to such claim to other creditors
      without further order of the Court.

      5.1 CLASS 1 - CLAIMS WITH DESIGNATED SPECIFIC MONTHLY PAYMENTS

      The following Class 1 claims shall be paid first in the monthly payment amount designated below. The Plan
      payment is calculated in an amount that is sufficient for the Trustee to make a full monthly distribution on all Class
      1 claims plus the statutory Trustee fee. If the Debtor makes a payment that is less than the full Plan payment
      amount, the Trustee will make distributions on Class 1 claims in the order of priority set forth in the Bankruptcy
      Code.

      5.1.1 Maintenance of Regular Mortgage Payments

      Regular mortgage payments shall be calculated to include the payment due the month after the filing of the
      petition. For mortgage loan claims disbursed by the Trustee, arrearage payments shall be calculated to include the
      payment due for the month of the filing of the petition. Arrearages shall be listed in Paragraph 5.2.1 and paid as
      Class 2 claims.

      Trustee disburse.



      Debtor direct pay. Unless otherwise ordered by the Court, regular monthly mortgage payments may be paid
      directly by the Debtor only if the mortgage is current as of the petition date. LBR 3015-1(d).




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      5.1.2 Modified Mortgages or Liens Secured by Real Property

      The following claims are subject to modification as (1) claims secured by real property that is not the Debtor's
      principal residence, (2) claims secured by other assets in addition to the Debtor's principal residence, or (3) claims
      for which the last payment on the original payment schedule for a claim secured only by a security interest in real
      property that is the Debtor's principal residence is due before the date on which the final payment under the Plan is
      due. §§ 1322(b)(2), (c)(2).

      5.1.2(A) Cramdown/Real Property. To the extent that a claim is in excess of the value of the property, the balance
      in excess of the value of the property shall be treated as a Class 4 nonpriority unsecured claim. See Paragraph 4 for
      more information.


      5.1.2(B) Non-Cramdown/Real Property. The full amount of the following claims shall be paid through the Plan
      because the value of the property is greater than the value of the claim. The proof of claim amount will control,
      subject to the claims objection process.


      5.1.3 Claims Secured by Personal Property for Which § 506 Determination is Not Applicable
      ["910 Claims/Personal Property"]
      The following claims are secured by a purchase money security interest in either (1) a motor vehicle acquired for
      the Debtor's personal use within 910 days of the petition date or (2) personal property acquired within one year of
      the petition date. The proof of claim amount will control, subject to the claims objection process.

                                                                                                Minimum
                                                                                                Monthly
                                                         Purchase   Estimated Secured Interest
            Name of Creditor Property Description                                               Payment
                                                         Date       Claim to be Paid Rate
                                                                                                Including
                                                                                                Interest
            Lendmark            2014 Chevrolet Cruz      03/08/2023 $13,172.00             7.5% $264.00
            Financial

      5.1.4 Claims Secured by Personal Property for Which § 506 Determination is Applicable
      The following claims are secured by personal property not described above in Paragraph 5.1.3.

      5.1.4(A) Cramdown/Personal Property. To the extent that a claim is in excess of the value of the property, the
      balance in excess of the value of the property shall be treated as a Class 4 nonpriority unsecured claim. See
      Paragraph 4 for more information.


      5.1.4(B) Non-Cramdown/Personal Property. The full amount of the following claims will be paid through the
      Plan because the value of the property is greater than the value of the claim. The proof of claim amount will control,
      subject to the claims objection process.



      5.1.5 Domestic Support Obligations (Ongoing) - Priority Claims under § 507(a)(1)


      The name of any holder of any domestic support obligation as defined in § 101(14A) shall be listed below. If the
      Debtor becomes subject to a domestic support obligation during the Plan term, the Debtor shall notify his or her
      attorney and the Trustee. Arrearages shall be listed in Paragraph 5.2.2 and paid as Class 2 claims.




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      5.1.6 Executory Contracts and Unexpired Leases

      Service Requirements. The Plan shall be served on the holder of any executory contract or unexpired lease listed
      in Paragraph 5.1.6.

      The Debtor rejects the following executory contracts and unexpired leases.

               Notice to Creditor of Deadline to File Claim for Rejection Damages: A proof of
               claim for rejection damages must be filed by the creditor within ninety (90) days from
               the date of confirmation of the Plan. Rule 3002(c)(4). Such claim shall be treated as a
               Class 4 nonpriority unsecured claim.



      The Debtor assumes the following executory contracts and unexpired leases. Unless otherwise ordered by the
      Court, all motor vehicle lease payments shall be made by the Trustee. LBR 3015-1(c)(1). Any prepetition arrearage
      shall be cured in monthly payments prior to the expiration of the executory contract or unexpired lease. The Debtor
      may not incur debt to exercise an option to purchase without obtaining Trustee or Court approval. LBR 4001-3.

      Trustee disburse.



      Debtor direct pay.


                                                 Regular Number of                                Contract/
                                                                   Monthly        Estimated
            Name of         Property             Payments                                         Lease
                                                                   Contract/Lease Arrearage as of
            Creditor        Description          Remaining as of                                  Termination
                                                                   Payment        Petition Date
                                                 Petition Date                                    Date

            AT&T             Phone Lease         3                       $170.00        $0.00             07/01/2025

      5.1.7 Administrative Claims
      The following claims are administrative claims. Unless otherwise ordered by the Court, requests for additional
      attorney fees beyond those set forth below will be paid after the attorney fees set forth below and in the same
      monthly amount as set forth below. LBR 2016-1(b).

                                                                Amount to be Disbursed by       Minimum Monthly
            Name of Claimant               Total Claim
                                                                Trustee                         Payment Amount
            Dean Snyder                    $3,500.00            $2,500.00                       $150.00


      5.2 CLASS 2 - SECURED CLAIMS WITH NO DESIGNATED MONTHLY PAYMENTS AND
      DOMESTIC SUPPORT OBLIGATIONS (ARREARAGES)

      5.2.1 Secured Claims with No Designated Monthly Payments
      The following claims are secured claims with no designated monthly payments, including mortgage arrearages,
      certificates of judgment, and tax liens. The proof of claim amount shall control, subject to the claims objection
      process. Class 2 claims shall be paid second and shall be paid pro rata with other Class 2 claims. The interest rate in
      Paragraph 7 does not apply to claims in this Paragraph.


      5.2.2 Domestic Support Obligations (Arrearages) - Priority Claims under § 507(a)(1)




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      The name of any holder of any domestic support obligation arrearage claim or claim assigned to or owed to a
      governmental unit and the estimated arrearage amount shall be listed below.

      5.3 CLASS 3 - PRIORITY CLAIMS
      Unless otherwise provided for in § 1322(a), or the holder agrees to a different treatment, all priority claims under §
      507(a) shall be paid in full in deferred cash payments. § 1322(a). Class 3 claims shall be paid third and shall be paid
      pro rata with other Class 3 claims.
      5.4 CLASS 4 - NONPRIORITY UNSECURED CLAIMS
      Allowed nonpriority unsecured claims shall be paid a dividend as provided in Paragraph 2.2. Class 4 claims
      shall be paid fourth and shall be paid pro rata with other nonpriority Class 4 claims.
      5.4.1 Wholly Unsecured Mortgages/Liens
      The following mortgages/liens are wholly unsecured and may be modified and eliminated. See In re Lane, 280 F.3d
      663 (6th Cir. 2002). See Paragraph 4 for additional information. Preferred form motions and orders are available on
      the Court's website at www.ohsb.uscourts.gov.



      5.4.2 Judicial Liens Impairing an Exemption in Real Property

      The following judicial liens impair the Debtor's exemption in real property and may be avoided under § 522(f)(1)
      (A). See Paragraph 4 for additional information. Preferred form motions and orders are available on the Court's
      website at www.ohsb.uscourts.gov.



      5.4.3 Nonpossessory, Nonpurchase-Money Security Interest in Exempt Property

      The following nonpossessory, nonpurchase-money security interests impair the Debtor's exemption in personal
      property and may be avoided under § 522(f)(1)(B). See Paragraph 4 for additional information. Preferred form
      motions and orders are available on the Court's website at www.ohsb.uscourts.gov.


      5.4.4 Mortgages to be Avoided Under § 544
      The following debts secured by a mortgage will be paid as unsecured claims concurrent with other Class 4 claims.
      The Debtor or the Trustee shall file an adversary proceeding to determine whether the mortgage may be avoided.
      To the extent that the Trustee has standing to bring such action, standing is hereby assigned to the Debtor, provided
      a colorable claim exists that would benefit the estate.


      5.5 CLASS 5 - TREATMENT OF CLAIMS WITH A NON-FILING CODEBTOR, GUARANTOR, OR
      THIRD PARTY

      5.5(A) Claims Paid by Non-Filing Codebtor, Guarantor, or Third Party. The following claims shall not be paid
      by the Trustee or the Debtor but shall be paid by a non-filing codebtor, guarantor, or third party.


      5.5(B) Claims Paid by Debtor or Trustee. The following claims with a non-filing codebtor or guarantor shall be
      paid by the Debtor or Trustee.


      5.6 CLASS 6 - CLAIMS PAID DIRECTLY BY THE DEBTOR
      The following claims, which are not otherwise addressed in the Plan, shall not be paid by the Trustee but shall be
      paid directly by the Debtor.




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      6. SURRENDER OF PROPERTY
      The Debtor elects to surrender to the creditor the following property that is collateral for the creditor's claim. Upon
      confirmation of the Plan, the stay under § 362(a) and, if applicable, § 1301(a) shall be terminated as to the
      surrendered property only. Rule 3015(g)(2).


      7. INTEREST RATE
      Unless otherwise stipulated by the parties, ordered by the Court, or provided for in this Plan and except for claims
      treated in paragraph 5.1.1 and 5.2.1, secured claims shall be paid interest at the annual percentage rate of 7.5 %
      based upon a declining monthly balance on the amount of the allowed secured claim. Interest is included in the
      monthly payment amount. See Till v. SCS Credit Corp. (In re Till), 541 U.S. 465 (2004).

         This is a solvent estate. Unless otherwise provided, all nonpriority unsecured claims shall be paid in
                 full with interest at        % from the date of confirmation. If this box is not checked, the
                 estate is presumed to be insolvent.

      8. FEDERAL INCOME TAX RETURNS AND REFUNDS

      8.1 Federal Income Tax Returns

      The Debtor shall provide the Trustee with a copy of each federal income tax return by April 30 of each year, unless
      otherwise ordered by the Court.

      8.2 Federal Income Tax Refunds

      Notwithstanding single/joint tax filing status, the Debtor may annually retain the greater of (1) any earned income
      tax credit and additional child tax credit or (2) $3,000 of any federal income tax refund for maintenance and
      support pursuant to § 1325(b)(2) and, unless otherwise ordered by the Court, shall turn over any balance in excess
      of such amount to the Trustee by June 1 of each year. Unless otherwise ordered by the Court, tax refunds turned
      over to the Trustee shall be distributed by the Trustee for the benefit of creditors. Any motion to retain a tax refund
      in excess of the amount set forth above shall be filed and served pursuant to LBR 9013-3(b).

      9. OTHER DUTIES OF THE DEBTOR

      9.1 Change of Address, Employment, Marital Status, or Child or Spousal Support Payments

      The Debtor shall fully and timely disclose to the Trustee and file any appropriate notice, application or motion with
      the Court in the event of any change of the Debtor's address, employment, marital status, or child or spousal
      support payments.

      9.2 Personal Injury, Workers Compensation, Bonuses, Buyout, Severance Package, Lottery Winning,
      Inheritance, or Any Other Funds to Which the Debtor May Be Entitled or Becomes Entitled to Receive

      The Debtor shall keep the Trustee informed as to any claim for or receipt of money or property regarding personal
      injury, workers compensation, bonuses, buyout, severance package, lottery winning, inheritance, or any other funds
      to which the Debtor may be entitled or becomes entitled to receive. Before the matter can be settled and any funds
      distributed, the Debtor shall comply with all requirements for filing applications or motions for settlement with the
      Court as may be required by the Bankruptcy Code, the Bankruptcy Rules, or the Local Bankruptcy Rules. Unless
      otherwise ordered by the Court, these funds shall be distributed by the Trustee for the benefit of creditors.

      9.3 Social Security

      The Debtor shall keep the Trustee informed as to any claim for or receipt of social security funds.




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      10. INSURANCE

      10.1 Insurance Information

      As of the petition date, the Debtor's real and personal property is insured as follows.

             Property Address/                                 Policy                           Agent Name/Contact
                                        Insurance Company                     Full/Liability
             Description                                       Number                           Information
             2014 Chevrolet Cruz         Allstate Insurance     880032035 Full                  513-745-9898
                                                                                                The Buckman Agency

      10.2 Casualty Loss Insurance Proceeds (Substitution of Collateral)

      If a motor vehicle is deemed to be a total loss while there is still an unpaid claim secured by the motor vehicle, the
      Debtor shall have the option to use the insurance proceeds to either (1) pay off the balance of the secured claim
      through the Trustee if the secured creditor is a named loss payee on the policy or (2) upon order of the Court,
      substitute the collateral by purchasing a replacement motor vehicle. If a replacement motor vehicle is purchased,
      the motor vehicle shall have a value of not less than the balance of the unpaid secured claim, the Debtor shall
      ensure that the lien of the creditor is transferred to the replacement motor vehicle, and the Trustee shall continue to
      pay the allowed secured claim. Unless otherwise ordered by the Court, if any insurance proceeds remain after
      paying the secured creditor's claim, these funds shall be distributed by the Trustee for the benefit of creditors.

      11. EFFECTIVE DATE OF THE PLAN

      The effective date of the Plan is the date on which the order confirming the Plan is entered.

      12. VESTING OF PROPERTY OF THE ESTATE

      Unless checked below, property of the estate does not vest in the Debtor until the discharge is entered. The
      Debtor shall remain responsible for the preservation and protection of all property of the estate.
        Confirmation of the Plan vests all property of the estate in the Debtor in accordance with §§ 1327(b) and (c).
        Other

      13. NONSTANDARD PROVISIONS

      The nonstandard provisions listed below are restricted to those items applicable to the particular circumstances of
      the Debtor. Nonstandard provisions shall not contain a restatement of the Bankruptcy Code, the Bankruptcy Rules,
      the Local Bankruptcy Rules, or the Mandatory Chapter 13 Form Plan. Any nonstandard provision placed elsewhere
      in this Plan is void and shall have no binding effect.




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      By filing this Plan, the Debtor, if unrepresented by an attorney, or the Debtor's Attorney certifies that (1) the
      wording and order of provisions of this Plan are identical to those contained in the Mandatory Form Chapter 13
      Plan adopted in this District and (2) this Plan contains no nonstandard provisions other than those set forth in
      Paragraph 13.


      Debtor's Attorney

      Date:03/14/25

                                                                         /s/ R. Dean Snyder
                                                                            R. Dean Snyder (0039921)
                                                                            Attorney at Law
                                                                            5110 Pleasant Ave
                                                                            Fairfield, Ohio 45014
                                                                         Ph:513-868-1500
                                                                         Fx: 888-551-2975
                                                                            dsnyderpleadingsonly @gmail.com


      Debtor                                                             Joint Debtor
      /s/ Linda Dews                                                     /s/ (JOINT DEBTOR NAME)

      Date:03/14/25                                                      Date:
                       NOTICE OF DEADLINE FOR OBJECTING TO PLAN CONFIRMATION

               Debtor has filed a Chapter 13 plan or an amended Chapter 13 plan (hereafter, the "Plan").

              Your rights may be affected. You should read the Plan carefully and discuss it with your attorney, if you
      have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.

               If you do not want the Court to confirm the Plan, you must file a written objection to the Plan. Objections
      to confirmation of an initial plan shall be filed within fourteen (14) days after the § 341 meeting of creditors is
      concluded. Objections to confirmation of an amended plan shall be filed with the later of twenty-one (21) days after
      service of the amended plan or fourteen (14) days after the 341 meeting of creditors is concluded. If a timely
      objection to the Plan is filed within seven (7) days of the confirmation hearing date, the confirmation hearing will
      be rescheduled. Rule 3015(f).

                Your objection to the Plan, explaining your position, must be filed with the Court and mailed by first class
      mail to the United States Bankruptcy Court


      OR your attorney must file the objection using the Court's ECF System.

               The Court must receive your objection on or before the applicable deadline above.




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                   You must also send a copy of your objection either by 1) the Court's ECF System or by 2) first class
       mail to:

       R. Dean Snyder, 5110 Pleasant Ave, Fairfield, Ohio 45014
       Linda Dews 9 Dan Ct Fairfield, Ohio 45014
       Margaret A. Burks, 600 Vine Street, Suite 2200, Cincinnati, OH 45202
       and the United States trustee.
                If you or your attorney do not take these steps, the Court may decide that you do not oppose the terms
       of the Plan and may enter an order confirming the Plan without further hearing or notice.


                                                   CERTIFICATE OF SERVICE

                I hereby certify that a copy of the foregoing Chapter 13 Plan was served electronically on the date of
      filing through the Court's ECF System on all ECF participants registered in this case at the email address registered
      with the Court and

                  by first class mail on         03/19/25            addressed to:

                  Linda K Dews |9 Dan Court|Fairfield, OH 45014-3836||||

                  AT&T |P.O. Box 6416|Carol Stream, IL 60197-6416
                  Advance America |8320 Colerain Ave|Cincinnati, OH 45239-3925
                  Asst US Trustee (Cin) |Office of the US Trustee|J.W. Peck Federal Building|550 Main Street, Suite 4-812|Cincinnati, OH 452
                  Bmg Money Inc |444 Brickell Ave Ste 250|Miami, FL 33131-2404
                  Bmgmoneyin |444 Brickell Ave, Suite 250|Miami, FL 33131-2404
                  Capital One |Po Box 85064|Glen Allen, VA 23058
                  Cb/Clark |Po Box 182789|Columbus, OH 43218-2789
                  CREDIT FRESH|200 CONTINENTAL DRIVE SUITE 401|NEWARK DE 19713-4337||||preferred
                  Ccbank/Cng |7755 Montgomery Rd Ste 4|Cincinnati, OH 45236-4291
                  City of Cincinnati |Attn: Legal|801 Plum St, suite 214|Cincinnati, OH 45202-5705
                  City of Forest Park |Income Tax Dept|1201 W Kemper Rd|Cincinnati, OH 45240-1617
                  Cleo |150 West 25th Street, RM 403|New York, NY 10001-7460
                  Credit One bnk |Pob 98872|Las Vegas, NV 89193-8872
                  Empower |8515 E Orchard Rd.|Englewood, CO 80111-5002
                  JP Morgan Chase Bank NA |Bankruptcy Mail Intake Team|700 Kansas Lane Floor 01|Monroe, LA 71203-4774
                  Kohls/Capone |N56 Ridgewood Dr|Menomonee Fal, WI 53051
                  LENDMARK FINANCIAL SERVICES|2118 USHER ST|COVINGTON GA 30014-2434||||preferred
                  Lvnvfundg |P.O. Box 10584|Greenville, SC 29603-0584
                  DSNB MACY S|CITIBANK|1000 TECHNOLOGY DRIVE MS 777|O FALLON MO 63368-2239|||preferred
                  Macys/Cbna |9111 Duke Blvd|Mason, OH 45040-8999
                  Mariner Finance |8211 Town Center Dr|Nottingham, MD 21236-5904
                  Marinerfin |5802 E. Virginia Beach Blvd|Norfolk, VA 23502-2475
                  Milestone |c/o Concora Credit|PO Box 4477|Beaverton, OR 97076-4401
                  NetCredit |175 W Jackson Blvd|Suite 600|Chicago, IL 60604-2948
                  Netcredit |200 W Jackson|Chicago, IL 60606-6910
                  Netcredit |Customer Support Team|NetCredit 175 W. Jackson Blvd., Suite 60|Chicago, IL 60604-3043
                  Purpose Financial, Inc |PO Box 3058|Spartanburg, SC 29304-3058
                  State of Ohio |PO BOX 530|Dept of Taxation/Bankruptcy Dept|Columbus, OH 43216-0530
                  Stephen D. Miles |18 W Monument Avenue|Dayton, OH 45402-1202
                  Syncb/Car Care Tiredis |Po Box 965068|Orlando, FL 32896-5068
                  Syncb/Sams Club |Po Box 29116|Shawnee Mission, KS 66201
                  The Dave |1265 South Cochran Avenue|Los Angeles, CA 90019-2846
                  Xtrac |1965 Sheridan Drive|Suite 200|Buffalo, NY 14223-1251


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